W2NZ16 Print

Subject: Re: Beretta Personal Items Pickup Saturday?
From: Paul WILKIN (pawski4@yahoo.com)

To: akotler@Berettausa.com;

Date: Friday, September 16, 2016 10:17 AM

And my written reason for termination?

Sent from my iPhone

On Sep 16, 2016, at 9:43 AM, Alison Kotler < > wrote:
Paul —

Beretta will be expecting you tomorow, Saturday September 17 at Noon to pick up youritems. Security is aware and has been
notified to permit you to retum.

Thanks!

Alison L. Kotler, SPHR, SHRM-SCP
Director of Human Resources

Beretta U.S.A. Corp.
17601 Beretta Drive, Accokeek, MD 20607

(T} (301) 283-2191 Ext. 1311
(F) (301) 283-5113

From: Paul WILKIN [

Sent: Thirsday, September 15, 2016 5:39 PM

To: Alison Kotler <akotler/@)Reretiansa. com>
Subject: Re: Beretta Personal Items Pickup Saturday?

I toid you I would be available noon on Saturday. And I asked you to put in writing the reason you told me I
was terminated.

Sent from my iPhone

On Sep 15, 2016, at 4:34 PM, Alison Kotler < > wrote:

Paul —

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Please resend the last two emails you have sent to me so 1 can review. 1 have not received them with the time that you
have chosen for Saturday. If! had 1 would have written back to confinn the time, instead of asking you to confizm
when you'd prefer to return to the facility,

Thanks!

Alison L.. Kotler, SPHR, SHRM-SCP
Director of Human Resouces

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(T) (301) 283-2191 Ext, 1311

(F) (301) 283-5113

From: Paul WILKIN [

Sent: Thursday, September 15, 2016 5:33 PM.
To: Alison Kotler < >

Subject: Re: Beretta Personal Items Pickup Saturday?

I have sent you 2 emails. Which you have not responded to. And attempted to call you 5 times.
Which you have refused to answer and or return.

Sent from my iPhone

On Sep 15, 2016, at 4:28 PM, Alison Kotler-<gkotler@Rerettausa.com> wrote:

Paul —

am awaiting confirmation from you on the time this Saturday September 17" that you would like to
retum to the facility in Gallatin to pick up your personal items. Please send me confirmation in writing
on the time you have chosen so I can make the necessary arrangements.

If you are unable to return to the facility on Saturday, please propose a few altemate dates and times for
us to consider,

Thanks!

Allson L. Kotler, SPHR, SHRM-SCP
Director of Huon Resources

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